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 8                        UNITED STATES DISTRICT COURT

 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,             CR N~ ~8~ 8 — 0 0 8 3 L~

11                   Plaintiff,            I N F O R M A T I O N

12                   v.                    [18 U.S.C. §§ 1349, 3147:
                                           Conspiracy to Commit Wire
13   JEFFREY CRAIG YOHAI,                  Fraud, Committed on Release; 18
                                           U.S.C. §§ 1028A, 3147:
14                   Defendant.            Aggravated Identity Theft,
                                           Committed on Release]
15

16        The United States Attorney charges:

17                                   COUNT ONE

18                          [18 U.S.C. §§ 1349, 3147]

19        Beginning in August, 2017, and continuing through at least

20   October 30, 2018, in Los Angeles County, within the Central

21   District of California, and elsewhere, defendant JEFFREY CRAIG

22   YOHAI ("YOHAI"), together with others known and unknown,

23   conspired to commit wire fraud, in violation of Title 18, United

24   States Code, Section 1343.      The object of the conspiracy was

25   carried out, and to be carried out, in substance, as follows:

26        Defendant YOHAI and his co-conspirators would attempt to

27   trick lenders into providing refinancing loans based on false

28   and inflated property appraisals.
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 1           Defendant YOHAI would also gain access to luxury homes

 2   owned by others by pretending to be interested in buying or

 3   leasing the property, or by viewing the property and then

 4   leaving a back door open through which defendant YOHAI could

 5   later enter.     Defendant YOHAI would then falsely claim to victim

 6   short-term renters that he owned or controlled the properties in

 7   order to solicit from them rent payments--which defendant YOHAI

 8   would keep for himself and not provide to the victim true owners

 9   of the properties--as well as security deposits--which defendant

10   YOHAI would not refund after the renters left.

11           Defendant YOHAI and his conspirators would also take from

12   victim purchasers payment for exclusive passes to a music

13   festival which defendant YOHAI and his conspirators did not

14   possess and did not provide.

15           When the victims demanded payment, defendant YOHAI and his

16   co-conspirators would lull them with false promises of refunds,

17   worthless checks, and falsified records of wire transfers as

18   purported proof of payment.      Defendant YOHAI and his co-

19   conspirators intended to execute, and did execute, this

20   fraudulent scheme through the use of interstate wires.

21        Defendant YOHAI committed this felony while on release

22   under Title 18, United States Code, Chapter 207, in another

23   case.

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 1                                   COUNT TWO

 2                         [18 U.S.C. §~ 1028A, 3147]

 3           Beginning in February, 2017, and continuing through at

 4   least October 30, 2018, in Los Angeles County, within the

 5   Central District of California, and elsewhere, defendant JEFFREY

 6   YOHAI knowingly transferred, possessed, and used, without lawful

 7   authority, a means of identification of another person, during

 8   and in relation to a felony violation of Title 18, United States

 9   Code, Section 1349, Conspiracy to Commit Wire Fraud, as charged

10   in Count One.

11       Defendant YOHAI committed this felony while on release

12 ' under Title 18, United States Code, Chapter 207, in another

13   case.

14

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                                 NICOLA T. HANNA
16                               United States Attorney

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18                                   ~~~
                                 LAWRENCE S. MIDDLETON
19
                                 Assistant United States Attorney
20                               Chief, Criminal Division

21                               RANEE A. KATZENSTEIN
                                 Assistant United States Attorney
22                               Chief, Major Frauds Section

23                               ANDREW BROWN
                                 Assistant United States Attorney
24
                                 Major Frauds Section
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